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ATTACHMENT A — FACTUAL STIPULATION

The parties hereby stipulate and agree that if this matter had gone to trial the government
would have proven the following facts through competent evidence beyond areasonable doubt. The
parties also stipulate and agree that the following facts do not encompass all of the evidence which
would have been presented had this matter gone to trial, but that these facts are sufficient to
establish the elements of the crimes charges beyond a reasonable doubt.

Between no later than in or about July 2007 and on or about March 22, 2010, in the District
of Maryland and elsewhere, the Defendant, RODNEY STANSBURY, conspired and agreed with
PIERRE SMITH, CLIFTON DOMOND, KEVIN ALDER, GREGORY WIMSATT, and others to
distribute and possess with the intent to distribute at least 90 kilograms of marijuana.

Over a 10-year period, SMITH supplied ALDER with marijuana in individual shipments
raging from 60 to 120 pounds. SMITH engaged other individuals to deliver the marijuana for
ALDER. Leading up to deliveries, SMITH sent text messages to ALDER saying that the load would
be arriving shortly. On numerous occasions, SMITH's cousin, DOMOND,, traveled to Maryland to
facilitate the delivery of marijuana to predetermined locations in Maryland. During his trips to
Maryland, DOMOND met with ALDER and received money for payment to SMITH as well as
payment for DOMOND’s assistance with the transaction.

On April 7, 2008, WIMSATT traveled to ALDER’s residence, entered ALDER’s house and
then leave with a duffel bag. During a traffic stop of a vehicle involving WIMSATT, a drug dog

alerted on the car and a subsequent search revealed 12 pounds of marijuana in the same duffel bag
in WIMSATT’s trunk.

On August 13, 2009, ALDER met with STANSBURY to discuss further marijuana dealings.
STANSBURY provided ALDER with a sample of marijuana from his current source of supply.
During the meeting, STANSBURY discussed his distribution of marijuana with ALDER. In
particular, STANSBURY discussed his scheme to transport marijuana using the postal system, and
also discussed the significant quantities of marijuana that STANSBURY was able to distribute.

On October 1, 2009, ALDER met with WIMSATT to discuss further marijuana dealings.
WIMSATT provided ALDER with a sample of marijuana from his current source of supply. During
the meeting, WIMSATT discussed his distribution of marijuana with ALDER and current prices for
marijuana.

On December 4, 2009, DOMOND called ALDER and stated that a shipment of marijuana
was in the area and was ready to be dropped off. DOMOND then called ALDER and stated that he,
DOMOND, could not get a hold of the delivery driver. ALDER then arranged a meeting with
DOMOND on December 5, 2009 to check out a warehouse location for drug transactions.

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DISTRICT OF MARYLAND
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ALDER and DOMOND met the following day at the Home Depot in College Park, Maryland
and again traveled to the warehouse. DOMOND told ALDER that the warehouse was a good
location for the delivery and that DOMOND was still unable to get a hold of the delivery driver.
After approximately two hours, ALDER and DOMOND decided the transaction was not going to
take place. ALDER dropped DOMOND off at the Home Depot. DOMOND then traveled to the
Comfort Inn in Calverton, Maryland. Later that evening, DOMOND went to BWI Airport and left
the area.

On January 27,2010, ALDER and DOMOND metat the McDonald's located just off the exit
for Powder Mill Road on Interstate 95, in Beltsville, Maryland. DOMOND was followed to that
location by an older white male driving a Blue Dodge Caravan bearing New Hampshire Tags.
DOMOND's vehicle and the Blue Caravan left the McDonald’s restaurant and traveled to the
warehouse previously identified by ALDER. The blue van later exited the warehouse and departed
from the area.

ALDER later arrived and entered the warehouse. Shortly thereafter, DOMOND exited the
warehouse and departed from the area. Shortly after DOMOND left the warehouse, Investigators
entered the warehouse and seized two large duffle bags containing approximately 121.5 pounds of
marijuana.

Ihave read this statement of facts and carefully reviewed it with my attorney. I acknowledge
that it is true and correct and J do not wish to change any part of it.

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